      Case 21-30085-hdh11 Doc 182 Filed 02/19/21                Entered 02/19/21 09:52:44           Page 1 of 1




 The following constitutes the ruling of the court and has the force and effect therein described.


 Signed February 19, 2021
                                            United States Bankruptcy Judge
______________________________________________________________________




BTXN 104b/105b (rev. 09/11)
                                    UNITED STATES BANKRUPTCY COURT
                                      NORTHERN DISTRICT OF TEXAS


In Re:                                                     §
National Rifle Association of America                      §    Case No.: 21−30085−hdh11
                                                           §    Chapter No.: 11
                                        Debtor(s)          §


                              ORDER FOR ADMISSION PRO HAC VICE
     The Court, having considered the Application for Admission Pro Hac Vice of William M. Noall, to represent
National Rifle Association of America, related to document 153, ORDERS this application be:

    Granted − The Clerk of the District Court for the Northern District of Texas shall deposit the application fee to
the account of the Non−Appropriated Fund.

    Denied − The Clerk of the District Court for the Northern District of Texas shall return the admission fee to the
applicant.

                                               # # # End of Order # # #
